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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x
Civil Action No. 21 MC 92 (SAS)
IN RE INITIAL PUBLIC OFFERING

 

 

 

 

 

SECURITIES LITIGATION 02 Civ. 9699 (SAS y :
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Muller v. Diversa Corp., et al. can RCTRONICALLY FILED
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ORDER AND FINAL JUDGMENT i

 

 

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On the 10" day of September, 2009, a hearing having been held before this Court to
determine: (1) whether the terms and conditions of the Stipulation and Agreement of Settlement
dated April 1, 2009 (the “Stipulation’) are fair, reasonable, and adequate for the settlement of all
claims asserted by the Settlement Classes against the Defendants in the respective operative
Complaints now pending in the Actions in this Court (including the above-referenced Action)
under the captions listed on Exhibit A to the Stipulation, including the release of the Defendants
and the Protected Persons from the Settled Claims, and should be approved; (2) whether
judgment should be entered dismissing the Complaints as against the Defendants in each of the
respective Actions only, on the merits and with prejudice in favor of the Defendants and as
against all persons or entities who are members of the respective Settlement Classes in such
Actions who have not requested exclusion therefrom; (3) whether to approve the proposed
Designation and Plan of Allocation as a fair and reasonable method to allocate the settlement
proceeds among the cases and the members of the Settlement Classes; (4) whether and in what
amount to award Plaintiffs’ Counsel fees and reimbursement of expenses; and (5) whether and in
what amount to award the proposed Settlement Class Representatives and/or Lead Plaintiffs

reasonable time and expense reimbursement (including lost wages) incurred as a result of their
 

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representation of the Settlement Classes (“PSLRA Award Requests’). The Court having
considered all matters submitted to it at the hearing and otherwise; and it appearing that a notice
of the hearing substantially in the form approved by the Court was mailed to all persons or
entities reasonably identifiable who purchased or otherwise acquired the Subject Securities set
forth on Schedule 1 to the Notice of Pendency and Proposed Global Settlement of 309 Class
Actions, Motion for Approval of Settlement, Plan of Allocation, Attorneys’ Fees and Expenses,
PSLRA Awards of Reimbursement of Representatives’ Time and Expenses and Settlement
Fairness Hearing (the “Settlement Notice’) in the date ranges set forth in said Schedule 1 (the
“Settlement Classes” or “Settlement Class Periods”), as shown by the records of the Issuers’
transfer agents at the respective addresses set forth in such records, and that a summary notice of
the hearing substantially in the form approved by the Court was published in the national
editions of The Wall Street Journal, USA Today, and The New York Times, and once over the PR
Newswire pursuant to the specifications of the Court, and copies of the Settlement Notice were
mailed to all persons or entities who were identified as potential class members in connection
with the previously terminated settlement or who requested copies as a result of the publication
notice or otherwise, and copies of the Settlement Notice were also made available at
www.iposecuritieslitigation.com; and the Court having considered and determined the fairness,
reasonableness and adequacy of the Settlement, the proposed Designation and Plan of
Allocation, and the fairness and reasonableness of the award of attorneys’ fees and expenses
requested and the PSLRA Award Requests; and all initial capitalized terms used herein having
the meanings as set forth and defined in the Stipulation.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

THAT:
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1. The Court has jurisdiction over the subject matter of this Action, the Lead
Plaintiff(s), Proposed Settlement Class Representative(s), all Settlement Class Members, and the
Defendants, in this Action.

2. The Court finds for the purposes of the Settlement only that the prerequisites for
certification of this Action as a class action under Rule 23 (a) and (b)(3) of the Federal Rules of
Civil Procedure have been satisfied in that in this Action: (a) the number of Settlement Class
Members herein is so numerous that joinder of all members thereof is impracticable; (b) there are
questions of law and fact common to the members of the Settlement Class herein; (c) the claims
of the Settlement Class Representative(s) herein are typical of the claims of the Settlement Class
sought to be represented; (d) the Settlement Class Representative(s) and Plaintiffs’ Executive
Committee have fairly and adequately represented, and will fairly and adequately represent, the
interests of the Settlement Class herein; (e) questions of law and fact common to the remaining
members of the Settlement Class herein predominate over questions affecting only individual
remaining members of the Settlement Class herein; and (f) a class action is superior to other
available methods for the fair and efficient adjudication of the remaining controversy in this
Action.

3. Pursuant to Rule 23 of the Federal Rules of Civil Procedure and for the purposes
of the Settlement only, this Court hereby finally certifies this Action as a class action on behalf
of all persons who purchased or otherwise acquired the common stock (the “Subject Security”)
of Diversa Corp. (“Diversa”) during the period February 14, 2000 through December 6, 2000
(the ““Diversa Settlement Class”). Excluded from the Diversa Settlement Class herein are: (a)
each Person, other than a Natural Person, that was identified as a recipient of an allocation of

shares from the “institutional pot” in the IPO or Other Charged Offering of any of the 309
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Subject Securities, according to a list derived from the final “institutional pot” list created at the
time of each IPO or Other Charged Offering by the lead Underwriter in that Offering (“Excluded
Allocants”); (b) (i) each Person that currently is or previously was a named defendant in any of
the 309 Actions (hereafter “Named Defendant”); (11) any attorney who has appeared in the
Actions on behalf of a Named Defendant; (iii) members of the immediate family of any Named
Defendant, (iv) any entity in which any Excluded Allocant or Named Defendant has or during
any of the class periods had a majority interest; (v) the legal representatives, heirs, successors or
assigns of any Excluded Allocant or Named Defendant; and (vi) any director, officer, employee,
or beneficial owner of any Excluded Allocant or Named Defendant during any of the Settlement
Class Periods. Notwithstanding the prior sentence, a person shall not be excluded from the
Diversa Settlement Class herein merely by virtue of his, her or its beneficial ownership of the
securities of a publicly-traded Excluded Allocant or Named Defendant. Also excluded from the
Diversa Settlement Class herein are the persons and/or entities who requested exclusion from
every Settlement Class as listed on Exhibit 1 annexed hereto and the following persons and/or
entities who requested exclusion from the Diversa Settlement Class: Cassa Lombarda SpA.

4. Pursuant to Rule 23 of the Federal Rules of Civil Procedure and for the purposes
of the Settlement only, the Proposed Settlement Class Representative(s) herein, Donald K.
Natale, Mark L. Goldberg and Theodore Mobley, are finally certified as Settlement Class
Representative(s) in this Action; and the firms comprising the Plaintiffs’ Executive Committee
are finally certified as Class Counsel in this Action.

5. Notice of the pendency of the Actions as class actions and of the proposed
Settlement was given to all Members of the Settlement Classes in all 309 Actions who could be

identified with reasonable effort, including all members of the Diversa Settlement Class herein.
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The form and method of notifying the Diversa Settlement Class of the pendency of this Action as
a class action and of the terms and conditions of the proposed Settlement, including the use of a
separate website to identify the alleged artificial inflation amounts and end of Class Period
holding price for the Subject Security, met the requirements of Rule 23 of the Federal Rules of
Civil Procedure, Section 27 of the Securities Act of 1933, 15 U.S.C. § 77z-1(a)(7) as amended
by the Private Securities Litigation Reform Act of 1995, Section 21D(a)(7) of the Securities
Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(7) as amended by the Private Securities Litigation
Reform Act of 1995, due process, Rule 23.1 of the Local Civil Rules of the United States District
Courts for the Southern and Eastern Districts of New York, and any other applicable law,
constituted the best notice practicable under the circumstances, and constituted due and sufficient
notice to all persons and entities entitled thereto.

6. The Settlement is approved as fair, reasonable and adequate for the settlement of
this Action, and the parties to the Stipulation are directed to consummate the Settlement in
accordance with the terms and provisions of the Stipulation.

7. Except to the extent waived by all parties in writing, the Settlement is conditioned
on entry of an Order and Final Judgment approving the settlements in each and every one of the
Actions.

8. The Complaints in this Action, which the Court finds were each filed on a good
faith basis in accordance with the Private Securities Litigation Reform Act of 1995 (the
“PSLRA”) and Rule 11 of the Federal Rules of Civil Procedure, based upon publicly available
information, are hereby dismissed as against all Defendants in this Action and the Bankrupt
Issuers, with prejudice and, except to the extent costs are provided in the Stipulation, without

costs.
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9. Except as provided in paragraphs 10 and 11 below, upon the Effective Date, Lead
Plaintiff(s), the Settlement Class Representative(s) and the Diversa Settlement Class Members in
this Action, on behalf of themselves, their heirs, executors, administrators, successors and
assigns are hereby permanently barred and enjoined from filing, commencing, prosecuting,
intervening in or participating in, any and all Settled Claims against any and all of the Protected
Persons in the Actions or in any other proceeding. The Settled Claims are hereby compromised,
settled, released, discharged and dismissed as against the Protected Persons on the merits and
with prejudice by virtue of the proceedings herein and this Order and Final Judgment.

10. Lead Plaintiff(s), Proposed Settlement Class Representative(s) and the Diversa
Settlement Class Members, upon the Effective Date, are hereby deemed to have covenanted not
to sue the Bankrupt Issuers or Lehman or prosecute any action against the Bankrupt Issuers or
Lehman with respect to any Bankrupt Issuers and Lehman Resolved Claims; provided, however,
that in the event that any Bankrupt Issuers and/or Lehman asserts a claim against any Lead
Plaintiff, Proposed Settlement Class Representative or Diversa Settlement Class Member that
otherwise would have been released pursuant to this Paragraph 10, such Lead Plaintiff, Proposed
Settlement Class Representative or Diversa Settlement Class Member shall be permitted to assert
defensively (up to the amount of any Bankrupt Issuer’s or Lehman’s claim, as the case may be)
all matters against any Bankrupt Issuer and/or Lehman that would otherwise have been barred or
released pursuant to this Paragraph.

11. | The release and injunction referred to in Paragraphs 9 and 10 above shall not bar
any Diversa Settlement Class Member from asserting in any other proceeding that conduct with
regard to the allocation of any shares to or by Protected Persons is relevant evidence in such

other proceeding, but shall bar Diversa Settlement Class Members in their own right from
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asserting a Settled Claim against the Protected Persons in that other proceeding. The Protected
Persons shall retain all rights and defenses with regard to any such assertion.

12. Upon the Effective Date, each of the Protected Persons (except Lehman and the
Bankrupt Issuers) are hereby deemed to have released and forever discharged the Settled
Defendant Claims in this Action, against any Diversa Settlement Class Members, directors and
officers of any Diversa Settlement Class Member, and the present and former agents, attorneys
and employees of any Diversa Settlement Class Member, acting in such capacity, and each of
their respective successors and assigns to the fullest extent permitted by law.

13. Upon the Effective Date, each of the Protected Persons (except Lehman and the
Bankrupt Issuers) is hereby deemed to have released and forever discharged the Settled Cross
Defendant Claims against any other Protected Person, to the extent described in Paragraphs 26
and 27 of the Stipulation, to the fullest extent permitted by law. Upon the Effective Date, the
Protected Persons are, to the fullest extent permitted by law, deemed to covenant not to sue the
Bankrupt Issuers and/or Lehman and/or a Protected Person or prosecute any action against the
Bankrupt Issuers and/or Lehman and/or a Protected Person with respect to any Settled Cross
Defendant Claims; provided, however, that in the event that a Bankrupt Issuer and/or Lehman
and/or a Protected Person asserts a claim against any Protected Person that otherwise would have
been released pursuant to this Paragraph, such Protected Person shall be permitted to assert
defensively (up to the amount of the Bankrupt Issuer’s and/or Lehman’s and/or the Protected
Person’s claim) all matters against the Bankrupt Issuers and/or Lehman and/or the Protected
Person that would otherwise have been barred or released pursuant to this Paragraph.

14. To the fullest extent permitted by law, the Protected Persons are hereby

discharged from all Claims Over by any person or entity, whether arising under state, federal or
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common law, based upon, arising out of, relating to, or in connection with the Settled Claims of
any Diversa Settlement Class Member. To the fullest extent permitted by law, the Court hereby
bars, enjoins and restrains commencement, enforcement or assertion of all such Claims Over: (a)
against the Protected Persons by any person (except Lehman); and (b) by the Protected Persons
(except Lehman) against any person or entity.

15. To effectuate the protection of Protected Persons contemplated by Paragraph 14
and to compensate for any impairment of any person’s interest in barred Claims Over, the Court
orders that any judgment or award obtained by any shareholder of an Issuer or an Issuer on any
claim arising out of or reasonably flowing from the conduct alleged to be wrongful in these
Actions (except for Section 16(b) claims against any Defendant in litigations previously filed as
of the date of execution of the Stipulation), in this Court, in any federal or state court, or in any
other court, arbitration proceeding, administrative agency proceeding, or other forum in the
United States or elsewhere, including but not limited to claims against Lehman, shall be reduced
by the greater of (i) the amount that corresponds to the percentage of proportionate fault of
Protected Persons adjudged responsible or (ii) the amount allocated to the Action against that
Issuer under the Plan of Allocation in this Settlement.

16. | The Defendants have denied and continue to deny any wrongdoing whatsoever.
This Order and Final Judgment shall in no event be construed or deemed to be evidence of or an
admission, presumption or concession on the part of any Protected Person of any fault, liability,
coverage or wrongdoing as to any facts or claims asserted in the Actions (or any infirmity in the
defenses that they have asserted or could assert in the Actions), or any other actions or
proceedings, and shall not be interpreted, construed, deemed, invoked, offered, or received in

evidence or otherwise used against a Protected Person in the Actions, or in any other action or
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proceeding, whether civil, criminal or administrative. Notwithstanding anything contained herein
to the contrary, this Order and Final Judgment may be used by any Person to enforce its terms.

17. The proposed Plan of Designation’ and Plan of Allocation’ are approved as fair
and reasonable, and Plaintiffs’ Executive Committee and the Claims Administrator are directed
to administer the Stipulation in accordance with their terms and provisions.

18. | The Court finds that all parties and their counsel have complied with each
requirement of Rule 11 of the Federal Rules of Civil Procedure as to all proceedings herein.

19, Pursuant to this Court’s October 5, 2009 Opinion and Order, attorneys’ fees in the
amount of one-third (33-1/3%) of the Settlement amount, net of $46,941,556.96 of litigation
expenses, $27,500,000 of anticipated Administration fees, and a total of $1,303,593.05 in
PSLRA reimbursements awarded to specific plaintiffs, were awarded to Plaintiffs’ Counsel.
Attached hereto as Exhibit 2 is a list showing, for each of the Actions covered by this Court’s
October 5, 2009 Opinion and Order: (i) the Total Designation Amounts for each of the Actions
covered by this Court’s October 5, 2009 Opinion and Order; (ii) the proportionate amounts of the
$27,500,000 reserved for the Administrators’ fees; (iti) the PSLRA Awards, and (iv) the
proportionate amounts of the $46,941,556.96 of litigation expenses awarded. In this Action,
Plaintiffs’ Counsel are awarded the amounts of attorneys’ fees and litigation expenses as shown

on Exhibit 2 for this Action, which sum the Court finds to be fair and reasonable.? The foregoing

 

' Schedule 2 to Exhibit 1 to Exhibit C of the Stipulation.

° As set forth in the Notice (Exhibit 1 to Exhibit C of the Stipulation) beginning at page 14.

3 No adjustment shall be made for any spillover to or from this Action’s Total Designation

Amount, as any spillover amount will ultimately go to Members of the Settlement Classes, net of
the present fee award only, in which case the portion of the fee attributable to such spillover shall
be deemed paid from the spillover’s recipients. There shall be no reversion to Defendants by
virtue of any spillover, nor shall any additional fees be paid to Plaintiffs’ Counsel upon any
spillover.
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fees and expenses shall be paid to Plaintiffs’ Executive Committee from the Gross Settlement
Fund with interest from the date such Settlement Fund was funded to the date of payment at the
same net rate that the Settlement Fund earns. The award of attorneys’ fees shall be allocated
among Plaintiffs’ Counsel by, and in a fashion which in the opinion of, Plaintiffs’ Executive
Committee, fairly compensates Plaintiffs’ Counsel for their respective contributions in the
prosecution of this Action.

20. In making this award of attorneys’ fees and reimbursement of expenses to be paid
from the Gross Settlement Fund, the Court has considered the reasons and facts discussed at
length in the Court’s October 5, 2009 Opinion and Order, including that:

a. Plaintiffs’ Counsel has created a settlement fund which is reflected in the
Total Designation Amount for this Action shown on Exhibit 2 attached hereto, that is already on
deposit and earning interest, and that numerous Diversa Settlement Class Members who submit
acceptable Proofs of Claim will benefit from the Settlement created by Plaintiffs’ Counsel;

b. Over seven million copies of the Settlement Notice were disseminated to
putative Settlement Class Members in all 309 Actions, including 29,093 mailed with
“Frontispieces” specifically directed to members of the Diversa Settlement Class, indicating that
Plaintiffs’ Counsel were moving for attorneys’ fees in the amount of up to 33-1/3% of the Gross
Settlement Fund, plus interest, and for retmbursement of expenses in an amount of
approximately $56 Million, plus interest, and approximately only 140 objections, representing
less than a hundredth of one percent of all Settlement Classes, were filed against the Settlement
and/or the fee and expense request set forth in the Settlement Notice;

c. Plaintiffs’ Counsel have conducted the litigation and achieved the

Settlement with skill, perseverance and diligent advocacy;

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d. The action involves complex factual and legal issues and was actively
prosecuted over eight years and, in the absence of a settlement, would involve further lengthy
proceedings with uncertain resolution of the complex factual and legal issues;

€. Had Plaintiffs’ Counsel not achieved the Settlement there would remain a
significant risk that the Settlement Classes may have recovered less or nothing from the
Defendants;

f. Plaintiffs' Counsel have committed hundreds of thousands of hours in
litigating the 309 Actions and ultimately achieving the Settlement; and

g. The amount of attorneys’ fees awarded and expenses reimbursed from the
Settlement Fund are fair and reasonable under the circumstances of this Action.

21. Pursuant to the PSLRA, Mariam Heelan and Theodore Mobley are hereby
awarded $1,237.50 and $6,000.00, respectively, as reasonable time and expense reimbursement
(including lost wages) incurred as a result of representing the Diversa Settlement Class in this
Action.

22. In granting these PSLRA Award Requests to be paid out of the Gross Settlement
Fund, the Court has considered and found the reasons and facts discussed at length in the Court’s
October 5, 2009 Opinion and Order.

23. Exclusive jurisdiction is hereby retained over the parties and the Diversa
Settlement Class Members for all matters relating to this Action, including the administration,
interpretation, effectuation or enforcement of the Stipulation and this Order and Final Judgment,
including any application for fees and expenses incurred in connection with administering and
distributing the settlement proceeds to the members of the Diversa Settlement Class, and for all

further proceedings herein relating to the Settlement.

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24. Without further order of the Court, the parties may agree to reasonable extensions
of time to carry out any of the provisions of the Stipulation.

25. The Clerk of the Court is directed to file a true copy of this Order and Final
Judgment in this Action.

Dated: New York, New York

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UNITED STATES DISTRICT JUDGE

 

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EXHIBIT 1

IN RE INITIAL PUBLIC OFFERING SECURITIES LITIGATION
CIVIL ACTION NO. 21 MC 92 (SAS)

EXCLUSION REQUESTS - ALL SETTLEMENT CLASSES

Donna R. Adams

Fredric L. Aibel (Trust Acct.)

Brad Anselmo

Donner T. Bailey (Deceased) (IRA Acct.)

Richard L. Balser (PMA Acct.)

Richard G. Barrows (IRA Acct.)

Marcelle G. Baumbach

James D. Becker

Karen Belsky & Melvin Belsky (Trust Acct.)

Daniel & Mary Ann Bernardi (Joint Acct.)

Mary Ann Bernardi (IRA Acct.)

Noreen Betten & Paul Betten (Joint Acct.)

Gerald T. Bird & Kristine I. Bird (Joint Acct.)

Markus Blechner

Anthony D. Bogus & Margaret L. Bogus (Trust Acct.)
Jeffrey J. Bradt

Timothy K. Brady

Dwight G. Brainard (Individual Acct.)

Dwight G. Brainard & Gwendolyn H. Brainard (Joint Acct.)
Eric S. Braley (Roth IRA Acct.)

Marco L. Brew

Robert Browder

Iva H. Brown (Individual Acct.)

Iva H. Brown (Trust Acct.)

Kevin Brown (IRA Acct.)

Garth R. Budlong

Jean M. Buescher & Robert E. Buescher (Deceased) (Joint Acct.)
Robert Calamari (Trust Acct.)

Angela Cappiello & Augustino Cappiello (Joint Acct.)
Henreitte Clapp & John R. Clapp (Joint Acct.)

John R. Clapp (Individual Acct.)

CNN Investment Co., Inc.

Burton Cohen & Tess Cohen (Trust Acct.)

Linda R. Collings

Stanley Compton

John J. Connolly

Beverly J. Cosper (Individual Acct.)

Beverly J. Cosper & Bruce R. Cosper (Joint Acct.)
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Mary Crehan

Daniel L. Curtis

Anthony D'Agostino & Rose D'Agostino (Deceased) (Joint Acct.)
George Darwin (Individual Acct.)

George Darwin, Viola D. Darwin, Jeffrey Darwin & Diana Leboeuf (Joint Acct.)
George Darwin & Viola D. Darwin (Joint Acct.)
Melody F. Davenport

Louis Debole & Mary Debole (Joint Acct.)

Dwane L. Decker (Deceased) & Verma Decker (Joint Acct.)
Glenn P. Deltondo & Maria R. Deltondo (Joint Acct.)
Irmgard Dern

Jerry L. Dieball (IRA Acct.)

Jerry L. Dieball & Karen L. Dieball (Joint Acct.)
Louis A. Diller (GRA Acct.)

Richard T. Dolbeare

Arthur J. Domingue, Jr. (IRA Acct.)

Dale L. Doucet & Evelyn J. Doucet (Joint Acct.)
Iraida M. Echeandia

Nancy K. Edenfield (IRA Acct.)

Sylvia M. Edney (Roth IRA Acct.)

Arthur T. Elgin II

Donald F. Erickson, Sr. (Deceased) (IRA Acct.)
Michael J. Fealy (IRA Acct.)

Michael A. Fiorenzo

Douglas C. Flegal (SEP-IRA Acct.)

Daun A. Fondarella & Pat J. Fondarella (Joint Acct.)
Jan A. Fulks (Deceased)

George Galvan & Gloria D. Galvan (Joint Acct.)
Gary Nibbelink Associates

John R. Gingles (IRA Acct.)

Miu-Chu W. Gong & Phillip S. Gong (Joint Acct.)
Good Shepherd Church (Operations Acct.)

Good Shepherd Church (Building Fund Acct.)

Ruby T. Gregory

Despina Hatton & John O. Swendseid (Joint Acct.)
Arne E. Heikkila (Deceased)

Carrie L. Higo & Paul H. Higo (Joint Acct.)

Mildred A. Howard & Nelson Howard (Joint Acct.)
Jung-Hsin Hu & Danny T. Tsao (Joint Acct.)
Elizabeth J. Janiszewski (Roth IRA Acct.)

Raymond G. Jarisch

Mary N. Johnson & Russell L. Johnson (Joint Acct.)
Kevin L. Jones

K & A Mulzer Enterprises LP

Jon Kayyem (Individual Acct.)

Judith W. Kielhofer & Kary D. Kielhofer (Joint Acct.)
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Bridie Kilduff

Donald A. Kissell (IRA Acct.)

R.J. Kleve (Deceased)

Koch Equity Holdings Inc.

John Kong

Carr C. Kreuger II (Individual Acct.)

Carr C. Kreuger II & Lori L. Krueger (Joint Acct.)
Betty L. Kruchten & Joseph L. Kruchten (Joint Acct.)
Joseph L. Kruchten (Individual Acct.)

Barbara Lawton & Howard E. Lawton (Trust Acct.)
Loreen E. Lejeune & Jonathan H. Wenocur (Joint Acct.)
Deeann M. Limp & Wayne E. Limp (Joint Acct.)
Aloysius W. Little & Virginia C. Little (Trust Acct.)
Gregory T. Little & Virginia C. Little (Joint Acct.)
Tom R. Loffland (Individual Acct.)

Tom R. Loffland (Trust Acct. 1)

Tom R. Loffland (Trust Acct. 2)

George E. Loomis

Arthur F. Luetke

Michael R. Lufrano

Jennings M. Lyon

Domenica M. Macerata

Minh T. Mai (Individual Acct.)

Minh T. Mai (Roth IRA Acct.)

Edward Makarchuk

Thomas G. Mansfield

Curtis E. Marc, Jr.

Larry Matthews

Laverne McCombs & Robert L. McCombs (Joint Acct.)
Mildred E. McLemore & Robert W. McLemore (Joint Acct.)
Robert W. McLemore (IRA Acct.)

Virginia M. McNear

Robert E. Megill (RA Acct.)

Gail P. Miller & Richard J. Miller (Trust Acct.)
Lenore Miller

Yaichiro Minami (IRA Acct.)

Yaichiro Minami (Trust Acct.)

John T. Mitchell

James M. Monger & Lucille M. Monger (Trust Acct.)
Pamela A. Moore

Andrea H. Mulzer

Kenneth D. Mulzer, Sr. (IRA Acct.)

Kristin J. Mulzer (Individual Acct.)

Kristin J. Mulzer (IRA Acct.)

Billy Murphy

Marilyn A. Murrow (IRA Acct.)
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(re'69E'977$) (Ze SLET9S) 00°0$ (87'009°9€$) IL'816°6LL$ ONI ATEIGNV
(82'690'01T$) (O6'LLEOES) 00°0$ {Ep 96L°L1$9) 08'S7Z6LES$ ONI SWALSAS TVDIGAW LOadSV
(68°L59'696$) (18'F19°L97$) (00°60¢'6$) (80°8LL°9S1$) 9E'86L OPE ES ONI SAATAL NSV
(Or P7SESL$) (L¢°796'L02$) (00'006'7$) CLLTES 1Z1$) ¥9' Sr 19657 SDNIC’'IOH OJNIVISV
(6 LLZ'101$) (65° 1S6°L7$) (00'r69°S$) {10'SLE91$) pI 9E6 SHES ONI NOO' CYOdHSY
(6U98ELTF IS) (3°78 1 16€$) (8€°109°7$) (S891 °67Z$) VE ELE ESB HS ONI Varv
(p8'8£6'S07$) (€8°9€8'9S$) (6L'S1£$) (00°L67' C$) SL'87S‘60L$ ONI ADO'TIONHOAL SOdOUdV
(SL°SL6'8L2$) (17 P66°9L$) (00'S67'1$) (68°SOT S$) €S'SOT‘196$ ONI SOINSDLLNV
(1Z'pL0°L8$) (IS 1€0rz$) 00°0$ {O$°8L0°F1$) 00'000°00€$ ONI ANIINO AOTIV
(ZL PLOS87$) (S0'EP8'SL$) (00°000°01$) (10°681‘9r$) bl Sve b86$ SONICTOH SOd VSONV IV
(9Z'196'F£9'F$) (73° L6I‘6L7' 1S) (00°007'8$) (L9°86€6PL$) 67 00696 'S1$ ONI SHIDO IONHOAL IWWAVAV
(yess 117g) (61699854) (00° 266°€$) (67 €S7'FES) €b'906‘67L$ ONI SYYOMLAN NVdSUIV
(80°896'S EFS) (se-e@ze'0z1$) (00007 1$) (Z0'68¥'0L$) v0°LS0°Z0S ‘I$ duiOD SNOLLVOINNWWOO LANYIV
(12 PL0°L8$) (16 1€0'rz$) (00°€£6'1$) (OS 8L0'°F1$) 00°000‘00€$ SOd ALVDUIV
(so'6£r'60S$) (ZS 66S OFT) (0S ZL6°9$) (OV89E78$) LE'681SSL IS ONT SAIDOTONHOAL LNA TIOV
(1Z'PL0°L8$) (TS TE0PZ$) 00'0$ (OS 8LOFT$) 00°000°00¢$ duOO FAVAM.LAOS ATDV
(Cp L98°8EL$) (07616 €07$) (6L'061 I$) (86'79¢'6 11) Ev Lv9'SHS ‘7S CLT WOO'AODNEDV
(r6'6¢9'b19$) (95°9¢9°691$) (€E¢89'F 18) (10°6LE 66$) OF OLN LIT ‘ZS ONI SARLSAS UAHLAV
(OZ PS7'81Z$) (PL'S€C099) (OS'S16°ETS) (61'887'SE$) TE'6S61SLE$ ONI SAONEIOSOIA VUW IOV
(PL SEE OrES) (1L°626'€6$) (OS P9T'8$) CO€LZO'SS$) OLI8S°ZLI1$ ONI SYYOMLIN GALVUATIOOV
(€Z'0F6°98S$) (86'°886°191$) (00°7Z0°7$) (6L'868'F6$) 86'907'7Z0'T$ ONI SNOILNTOS ZL

(OS6'P80'OLIS (96°9SS'ITP6‘OrS 18101) | (SO'ESS‘EOE‘TS 18301) | (O00‘OOS‘LZS 1230.1) | UOKEUBIsaq [¥}0], Jonssy
[¥}0],) S90q Jo UOIBIO]] Vy | sasuedxy Jo uOHRIO]T VY splsaMy VATSd sosuodxy

NOD Jo uoHBd0]1V

 

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(88°91 STT$) (L9°6S0°CE$) 00°0$ (L9'182‘81$) 1€'07Z‘00b$ ddOo NUNLaY VLVG
(L7689' OPTS) (89°8Z8°8E$) (00'sz9°7$) (6ULre 7Z$) 86 17LP8h$ ONI SHIDO TONHOSL NAFTVG
(Z6'E7OLITS) (O€'L67 TES) (6L'SLS'8$) {68°026'81$) L981 '€Or$ duOO FOUNOSUAGAD
(6P C16°0S3'TS) (9S TES OT S$) (00'0S€'I$) (€6°797 667$) CO TZOLLE'OS ONI HLVd TVOILRIO
(L6°088'°869°7$) (LU198'FrL$) (L9'99F'0T$) (€9°S9E9EP$) £6'PSS‘867 6$ ONI dNOYWD SNOLLVOINNNWOD GVAOD
(6$°098°989$) (68°59 6819) (00°00S°L$) (1e"rSO'LT1$) EL 99P99E'7S$ ONI SNOILVOINNNWOD ANISOD
(6% PLL‘0L0°7$) (OL OISLLS$) (£€°€89'0E$) (26018 PEELS) TE 9ISPELLS ddOO SIAUOD
(96°9F£°091$) (86°ES7 FPS) (ST7Z0'€$) (2° $76'S7$) SE br TSS ONI OTYOO
(L$°S96°E%'T$) (06'008°LEC$) 00°0$ (°S68°L61$) 80° FL6°91ZF$ ONI SYUOMLAN NIVINNOW YaddOo
(P3'SseLezs) (62°897'89$) COL ILE'Z$) (¥6'€66'6£$) 19 VET ZSSS NI SHIDO TONHOAL UNONOD
(TU6#S'SS I$) (€8°626‘Tr$) 00°0$ (6L 6F1'SZ$) TT 616 SESS CLT MIVMLIOS HONOLWANOD
(86'6F0 SOC €$) (80°LS 1°C16$) (ee CeE'€$) (Tr €LePEess) PS TIOLSE TIS ONI JNO JOUANNOO
(CV LOZ br8S) (61°166'°CEZ$) (ys TESTS) (IL P6r'9E1$) 61'8L5°806'°7$ ONI SYYOMLAN LTVAOO
(QE L8P SPSS) (OP BPS‘0STS) (IV 198°T$) (€$°961 88S) 96'LBE6LE'1$ (SIAVG-daIZ) SHMOMLAN LAND
(1Z'PL0°L8$) (1S TE0#Z$) 00°0$ (OS 8L0'F1$) 00°000‘00€$ NI JOWANWOO NOVO
(SS TET T9Z$) (00° ELE CL$) (os cer's$) (29°86¢° TFS) TLOLPE06$ du¥OO LNAYV TO
(SS SFL ELTS) (06'6PrS*SL$) (00°000 I$) (LL'6SZ'rr$) LESELEv6$ ONI FUVMLAOS LNVITYOHO
(LO'THS'LOT$) (39°7Z¢9r$) (OS 81P'9$) (pr LETLZ$) PT PLT SLES SNOLLVOINOQWIANGO JNO AOIOHD
(€8'€18°980'TS) (SS'86°667$) (OOO T'T1$) (TEOZLSLT$) Ol Orr pr es quod WOO'VNIHO
(1€°86E EZ1$) (9¢ 9S0'F€$) (00°000°0T$) (ZS 16618) 6L 8b l'STHS DANW YOLONAGNOOINES CIAaLYVHO
(LZ°89$°172$) (8€'OS IL9$) (0S €16$) (ZO'Pe8‘SE$) SELLE EDLS ONI FUVALIOS VULNAO
(p9'SrS 1LE$) (Oe ers ‘cOT$) (00°000°L$) (pt'€20°09$) CEOLLO8TTS TVNOLLVNUGINI | WRAVO
(€Z'B6L'8LE$) (OU Prs‘FOT$) 00°0$ (8S°S+7'19$) EF LBO'SOETS ddOO ANIGCUNAL ANOLSdVO
(12'PL0°L8$) (TS"1¢0'rZ$) (00°000°0T$) (0S 8L0°F1$) 00°00000€$ duOO SHIDO TONHOAL WadITVO
(9€ 10FFI9$) (S6°L9S‘691$) (LE8L7°7$) (18'8££°66$) E8618 9112S ONI JOUAWNOD ODITVI
(OV T9€96I$) (Os €6 1 ¥S$) (00° ZEL‘7$) (rr 8rd 18) Tr 0€S‘9L9$ ONI SWELSAS VUEATVO
(20° €S60ES T$) (S0'97S CFS) (05'696°6$) (BP OES LEeS) LS'699'PLT'S$ ONI MOTSHOVO
(19°96L C6FS) (6€°900°9€T$) (00 0S7°91$) (8Z4L9°6L$) Lv 0S8°L69'1$ ONI WOO'ANE
(ZE098'F FES) (Z9°LLI°S6$) (00°000°Z1$) OE SEL*SSS) 90091 ‘8811S duoo AUVNOSE
(LZ €¢S GITS) (ZL°805‘0€$) (00°00 1 Zi$) (LO EL8°L1$) $8°8S8'08ES ONI SAS WNOOD JdVOOUd
(P6' C97 LIES) (Z€'196°L8$) (88° £099) (8'96Z'1S$) SZ 180°E60'T$ ONI SNOLLYIOS AVAVAVAE
CZ PLO°L8$) Cs" 1€0°P7$) (90°00T 1S) (0S 8L0°FI$) 00'000‘00€$ ONI DNILINSNOO NOVY

(0S6‘F80°0L1S (96°9SS'TP69FS 1830L) | (SO'EES‘COe TS 1H39L) | (000°00S*LZS 1kI0L) | UOFEUsISaq [BIO] Janss]
[#10 [) saaq Jo uowI0];W | Sasuadxg Jo UONBIOTTY SplBMY VUISd sosusdx]

 

 

(SVS) 76 OW IZ ‘ON NOLLOV ‘TIIAIO

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DOD Je UOHBIOLY

 

 

 

(Tr 90€°LSE$) (09°Z19°86$) (88° ES8°b$) (OLOLL'LSS) SO'TPOTET TS ON] LOSUVANIVA
(7 PL0L8$) CIS TE0'FZ$) (98'F8r'L$) (OS '8L0°F1$) 00'000‘00€$ ONI SSMOMLAN SA
(6LOLT'8LE$) (pS 86£F0T$) (o0°00¢$) (OE09EL9$) IV OLTEDETS ONI SNYOMLAN ANTULXA
(8 198"SSr$) (OL'718°SZ1$) 00°0$ (L¥'SOL‘€L$) OS'96S‘OLS'T$ ONI ALISNALXA
(Z6'0SZ‘OT FS) (OLPZZELI$) (0S'769°€$) (L6'0€E99$) SLZSP ely Ig ONI VIdadXad
(30°08 TOFS) (0°PrE OFS) 00°0$ (L6'PE9' EZ$) L9°6E9'E0SS$ Odxa
(SESST LOIS) (£9 ELS67H) (OO'OLTS) (97 StELIS) ZI SBT69ES$ ONI SNOILVOIIddV SONVHOX4
(1Z'rL0°L89) (1s Te0'r7$) (S71L9'#$) (0$°8L0°F1$) 00°'000°00€$ ONI TUVMLAOS FA TOAT
(96'9L6'°C92 ES) (Or'sS“006$) (00° Z16'F$) (88°0LS°L7S$) 08'SSO'THC TIS ONI SAOLZ
(pO LEP STIS) (8Z°619'FE$) (00'OSL"€$) (81187 07S) BS ELLZEPS$ ONI XININOF
(pe €9#L68$) (16'689°L¢7$) (00'POTOT$) (8¢°SOl‘SPT$) 08°€90°760°E$ ONI SHIDO'IONHOAL JDVONA
(er Leo Lelg$) (S3°S8L‘1S$) (88°L66°7$) (S6'LEC OES) 77 PLP9H9$ ONI LNANOOTA
(ZZ 8£0'F9E$) (I$ 0L¥‘001$) (6L°S LES) (Z1'6S8°8S$) Iv vet ps7 ONI NVOT-A
(LE PTZ BRES) (L49°SPL‘LOTS) {00°000°L$) {L9°69L‘79$) SS POS‘LEE IS dudOOD TYWNOLLVNYALNI OLLIS TA
(Z0'090°L¥7$) (Z3°S81°89$) (88° COP 19) {€9'S¥6'6E$) 80°S0Z'IS8$ SNOILVOINNWINOD NIVDA
(16 '640'687$) (8S°PLL‘6L$) 00°0$ (EL PEL OFS) 6S'PL8'S66$ ONI XNA
(OS SO8P7r$) (09 TPELITS) (08'r£6'1$) (1Z'789°89$) LI'86S‘€9r'I$ ONI GHMHLUVA
(COS'LEEbrZ$) (ZS'PePL9$) 00°0$ (6r'S0s‘6c$) LU'978‘1P8$ ONI ANVHdId'4
(9L'0S7'19S$) (86'868°FST$) (00'000°S$) (27'S L'06$) O1'869°E£6'I$ ONI WOO aYOLsONUa
(So 66 OLE$) (OL EsctOls$) (6L°S90°PI$) (Z8°€06'6S$) L8°S6P9LT I$ ONI WOO 'dOOwNG
(ps ISL 97S) (89°00 1'89$) (00° OF6"FT$) (S£'S68°6ES) 97 ZH ‘OS8$ ONI MOITOATANOG
(99°8£6'998$) (rr'S9T6EZ$) (OS LET LS) (€0'OLT OFTS) 00°968°986°7$ VSUAAIG
{€L°998°E7Z$) (CL p8L‘19$) (00°000°S1$) (S9°S6L9€$) 9€°967 ILLS ONI SVLIDIC
(97 68L'891$) (96'€859r$) (0S '960°E$) (1§'062@'L7$) 16'SES‘TESS$ ONI ANIHLTV.LIDIG
(17 PL0'L8$) (1S TEORZ$) (OS S9E'8$) (0$°8L0'F1$) 00°000‘00E$ ONI UA TVLIDI
(98°7S0'TbZ$) (06'€08°99$) (ZE°9Z0'8$) (S0'9€1 GES) TL ESE EESS$ ONI ANVISI TV.LISIA
($6°6£8'861$) (79 LL8PS$) (88°€09$) (2Z'6r I CES) 99°0L0°S89$ duOO LHDISNI TVLIDIG
(SLOP ESPS) (£3 LE1‘Sz1$) 00°0$ (OVOLE ez) ZI ILVZ9S‘T$ ONI LOVdANI TY LIDIA
(03°000°89¢$) (eV P9os* Lots) (00'000'S$) (13°66%'6¢$) €8'988°L9T IS ddOO OUVWIDIG
(CL Orr sPrz$) (ZL°995°89$) (00°007°S$) (LL'891‘0F$) 10'096'SS8$ ONI WOO SSeHLVL TE
(LU IF6 THES) (S6°'LP9F6$) (OS ZZ6°€$) (LO'StP'SS$) LOLVS'ISUTS ddOO ADO TIONHOSL ONV 1a
(00°60£'062Z$) (90'7Z108$) 00°0$ (67'8€6°9¢$) 6£' 717000 T$ SOILANAD AGOOAa

(0S6'r80'0LT$ (96°9SS‘ITH6‘9FS [8IOL) | (SO'EGS*COETS 1830.1) | (O00‘O0S'LTS 12101) | UOFHBUsISAg [e}01 Janss]
[¥30,.) $99,q JO uoIZIO];Y | sesusdx'y Jo uOeIO][V SpAeMAV VUITSd sasuedxy

 

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(06° 17L‘8ZZ$) (OL FZI°E9$) (00°002'°S$) ($9°086°9$) LO'bZ0'88L$ SUCTOH FUNLONULSVUANI LANYALNI
(PL 00LEr0'T$) (13°60°887$) (67 997 T1$) (Z9'6PL‘89T$) $6°006°S6S ‘ES ONI dNOUD TVLIdVO LANUALNI
(SEELOTIF'TS) (SP'66r'COrS) (00°000°S$) (pO P8E9E7$) P68Z1‘LEO'S$ duOO SAOIAUAS MYOMLAN dVNUGLNI
(19°867‘L6$) (pe €$3‘97$) (00'0¢2"€$) (ZO TEL*ST$) TS 9T7SEES ONI SSAUdXA WOOATAL CALVUOALNI
(So618°LOT$) (90 TOL‘8Z$) (OF TS7'S$) (g5°79r'9T$) L9IZO8‘OSES SWALSAS NOLLVWYOANI GALVUDALNI
(8€°107‘P67$) (Te961‘18$) CLUTP8$) (9° L9S‘LPS) 96°TZ9'ELO TS ddOO daMSNi
(O09 ZLI8S€$) (99°1$8‘869) (00°096'T$) (SLOIG LS$) LE'SZOPET IS dudOO SAIDOTONHOAL JONVUNI
(EL 9TEOLTS) (ZZ'p99‘8r$) (00'207'T$) (61°60S°87$) 20°S0S‘°L09$ dudOO ALYOIANI
(1Z'PLO'L8$) (IS TE0FZ$) (0 °L61°9$) (0$'8L0°FT$) 00°000‘00E$ ONI XVARIOANI
(1Z'PL0°L8$) (1s T€0"h7$) 00°0$ (0S 8L0°FT$) 00°000‘00€$ duOd VOILVWYOANI
(lt 6rL TSE$) (26'PS €°L6$) (00°€08°L$) (06° €€0°LS$) $9 OPE'SIZIS SNYOMLAN WAI LVSANI
(1Z'PL0°L8$) Cs 1€0'r7$) (OO'Ser'TS) (OS 80°F I$) 00°000‘00€$ duOO NOISUAWAI
(BLIP E9T$) (26° 7S0'SP$) (00°S99$) (LE'€6£°97$) LOC7P79S$ ONI SOVNVNI
(26167 0F1$) (L0'614‘8E$) (6L°STES) (S6°789°C7$) LOTSEESHS duOd DNILSVOICVOUd Wad
(So POL LIL$) (S€°8L0°861$) (88° €0S'1$) (07 T¥O'9T T$) SP CEL TLE C$ ONI SISV4I
(er Lee Fits) (79° BSS‘ TES) 00°0$ (TU 88r'8ts) or'S96'E6E$ ONI SYAAOOH
(COS SFI PSPS) (CO GEE SZIS) (00 0zr'7$) (L6'LTFELS) EL E89 PISS ddOO SSHOOV GddadS HDIH
(1Z'PL0°L8$) (1s 1€0'rz$) (0¢ 16S°6$) (OS'8L0'FI$) 00°000‘00€$ ONI ONTYdSANVH
(L0'SZP' 16Z$) (g0°0€'08$) {00'000's$) GL BLT Lrg) I9'LSO'POO'TS WOOF TEL dNOUD LO
(81'99P'S9T$) (€8°999°Sr$) (00°008"8$) (ZZ €SL'97$) 8L'980‘0LS$ ONI SNOLLVOINNWWOD Onid
(IL'8E7'8SZ$) CO TLZIL$) (6L'S1€$) (pO €Se‘1r$) Iv'61L°688$ INI WOO'O.LOD
(18°SL7'91Z$) (ZL°689°6S$) (00°0S2$) (Z£°896'FE$) 60 EVI SPL$ ONI NVdSadO19
(97°669'C1L°E$) (bL'6€6°¥Z0' 1S) (OZ 81S °S1$) (tr S¥P009$) 80946 P6L‘T1$ DNISSOUD TVEOTD
(9 €LO‘OPL'7$) (68°67 9SL$) (00°207'1$) (Z3°SZO'EPPS) vS LLY ‘Obr' 6$ VIGANVDID
(O1'6L8°760'T$) (6P'7Z9'10€$) (00°S28°9$) (L6°00L°9LT$) B69EE SOLES ONI SHYOMLIN XOOZAVD
(LV'S67'ZS$'7$) (Z1'SOP POLS) (L9'9TLT$) (L0°S99°Z1¥$) OP'LIS‘€6L°8$ ONI SLOIVAN A
(SS E6E TILES) (LP'6LS‘¥Z0'1$) (L¢°690°1$) (9¢ p€z‘009$) TS Brr 06L‘T1$ ONI SYYOMLAN AYVAGNNOA
(Z6'¥97'C07$) (98°860°9S$) 00°0$ (L9°P98°CES) OZ 9TEOOLS duOod SNOILVOINAWWOS TVD04
(67'097 FI C$) (SETEL‘98$) CLULEETS) (€8'O18'0S$) 99°ZEL‘Z80'T$ ONI SNOILLVOINQWINOD LANHSV 14
Cre ELag) (09°696'0r7$) (00°096°L$) (6€°891‘1PT$) 80°0L1'800°E$ ONI GNOdauIA
(LE6LLEZES) (TS°6S€°68$) (LV'6LS) (16'6PE CSS) 60°67S SITI$ duxOO UVSINIA
(19°8r8°60Z$) (68°S16°LS$) (ZE9LLTS) (PL'67Z6°EE$) €7'666 TCLS WOO'NIVUELVA

(0S6‘F80'OLIS (96°9SS‘Th6'9P$ IBIOL) | (SO'cES‘COC TS 1210L) | (O00°0OS'LZS 18301) | UONEUISaq [e}O], Janss]
1¥}0]) $99,4 Jo UoTZBI0];y | sosuddxy jo uoHBI0I[V SpAvAY VUISd sesuedxy

NOD Jo uoyesoi[y

 

 

 

 

 

 

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(£0681 S#$) (LLOIL F719) (OS P6S°L$) (€r'E90'€L$) ET SI69OSSIS duo) WOO 'aaaVOW
(81°796°00€$) (27'7290'€8$) 00°0$ (pL'099'8h$) LV'916°9E0'I$ ONI NSDAXWAW
(Z7'8¥8°609$) (pe TLE S9T$) (00°S0L"r$) ($9°709'86$) SLZEL TOI ZS ONI ANOXRILVW
(RU6EOLTES) (67'66P°L8$) (OS LETS) (PLr09Z'1S$) 88°90E°760'T$ ALT dNOUWD ADOTONHOAL TIZAUVW
(860796819) (8Z'E£E TSS) CU T16'7$) (99°859'0€$) OT BOEESOS ONIATT LUVMALS VHLUVA
(€Z'S#8°FZ9$) (pe'OSr'CLT$) (Or L9CF$) (Zr LZO LOTS) 6h 2087S 17S ONI WOOD HOLVMLOSVW
(97 P19'PZL$) (6'S86°661$) (OC LY6 TIS) (LyssTLiTg$) Eb ObS‘96b°7$ ONI VEWVAN
(6€°€69°781$) (SE1Zr0S$) (00'ZES*F$) (8S°8£S°67$) 1€Orb679$ CL'l SAJOIAUAS SUTUNLOVANNVAN
(89°88S‘1S7¢$) (g9°S¢r'69$) {00'9S8'F$) (p8°LL9'0r$) 78'L08°998$ ONI SSIDOTONHOSAL AAAANOT
(ZL'600°9€€$) (S6'PEL‘76$) {oS Z8S°91$) (LELTE'#S$) LLOIOLSTTS$ GLT LUVWNSAOOT
(or oco'ssr$) (gS°08S‘SZT$) (t¢'9¢S$) (8P'69S°€L$) 1L'869°L9S'1$ ONI OIGNV AINOYI
1ZPL0°L8$) (1S 1€0°F7$) 00°0$ (0S'8L0°F1$) 00°000‘00€$ SHIDO IONHOSL JDGIMANOTT
(1Z'PLO'L8$) (19° 1£0°F7$) (0S 168°6$) (OS SL0‘P I$) 00°000°00€$ SHIDO TONHOAL ALVUAGIT
(12 PL0'L8$) (1S T€0P7$) 00°0$ (0S 8L0°F1$) 00°000‘00€$ ONI LNAXAT
(IZ PLO'L89) (IS Te0'P7$) 00'0$ (OS 8L0°FT$) 00°000°00€$ ONI SNOLLVOINNWANOS AGNLILVT
COL SsPeces) (SL'0€0'26$) (Ee CCE OF) (Z8'PIG'ES$) 6L'SLE‘SPLTS duoo ALNV1
(SO'ZPSOLETS) (TU€66'6LE$) (Br SSEE$) CZ EL9 77H) 80°S89 EPL 'b$ LANNYHL VadON
(L7'1$6°697$) (SS €0S"*PLS) 00'0$ (8L°9P9' EPS) OT ELOOESS ONI SWALSAS ALONAD
(68°98L°69L$) (€9' SH Z17$) (ZE19L'F1$) (SPZ9r'bZ1$) LESLUTS9°CS FYVMLIOS VNVX
(90°€09°L92$) (26°68 L17$) (09961 01$) (90°601#ZT$) PESO PHO'TS SSMOMLAIN WAdINAL
(LL 1S9°S17$) (6P'LIS6S$) CUUTLT19) (Zr L98°rE$) 60° €66'7PLS duOo INL
(LL681°S62$) (pS C9"'6 12S) (o0'000°1$) (6€°695 8Z1$) L8°969'6EL 7S TALZZVE
(EL'6LIV CIF) (EO'LSLELTS) (00'rr9'7$) (€8°7r9'99$) £1°860°0ZP' I$ ONI SAUSPUCUALNA TXI1
(CZ LSTSS6$) (6£°0r9'€97$) (00°9¢9'F$) (eL6re'bST$) ST EST TEC ES ONI SOVTTIAI
(p3'Z8 19S PS) (OP 106°SZI$) (og Es¢'sT$) (er LsL‘€L$) 69 COLILS TS dudOO OXL
(1Z'vL0°L8$) (1S 1€0'r7$) 00'0$ (0S 8L0°b1$) 00°000°00¢$ ONI WOO*-LNIUdI
(¥0'€9F OLS) (06'SF0‘Lt$) (LE°8L0°C$) (EV 19S‘L7$) €9°Z0ELES$ ONI SUVAVULNI
(68°9L1°L6$) (pL'618'97$) (LOC 11 Z$) (PO 1LL‘STS) LVLO8 FEES ONI NSAOMUALNI
($6°£98'66r$) (06'9S6‘LETS$) 00°0$ (96°61 8°08$) 73 °661'CZL'I$ SNOLLVOINAWNOO) AAVMUYALNI
(SL°856 OF8$) (L7'S60°TE7$) (00°6ZL‘1$) (OS 696°SET$) pr 98e'L68‘7$ dudOO SHINO TONHOAL LSNYLUALNI
(LL'7ZE098$) (€S'6EP LETS) (00°0S0°9$) (SCO ‘6ET$) £0°ZOL P96 '7$ duOO TISUALNI
(88° LLS‘LOT$) (€9°6P7 9P$) QU TIT 1g) ($9'P60'L7$) TE ZIELLS$ NVdVf SAILVILINI LANWALNI
(0S6‘P80°0LTS (96°9SS'TP6OPS 1830.L) | (SO'CES*COCTS 1410L) | (000°00S‘L7$ 14I0L) | UOHBUsIsag [e}0] danss]
[¥}0]) saa.q Jo UoTpBI0];y | sasuedxy Jo uoleI0[|V SpaeMyV VUISd sasusdx

 

 

 

DID Jo UOHEBs0]}V

 

 

 

 

NOILVDILIT SQILTAN DAS ONIATAAO OITANd TVILINI TY NI

(SVS) 26 OW IZ ‘ON NOLLOV TIAIO

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(1Z'PL0°L8$) (Is 1€0'rZ$) (OS Z1P'S$) (OS '8L0°FT$) 00'000°00€$ dO AMSINNWO
(O1'600°801$) (1€°608°6Z$) (6L°S TES) (£¢'€9P'LIS) BLLTLZLES ONI SNOLLVOINNINWOO AONVNN
(ZE'8S8°T6S'TS) (OZ T19°6Er$) (00°S28°1T$) (99 6ES°LSZ$) 86 E€6°LEP'SS dud SNOLLVOINNWWOOD LNIOdHLYON
(€5°090'898$) (90°SLS‘°6£7$) (6L°S9S"r$) (tr TSeOrl$) 61 19L°066'7$ daOO NIN
(8L°€9898E$) (TOLL °901$) (00°Z08$) (S9'6rS ‘79$) ST9L8‘ZEE IS ONI SUANLUVd TALKIN
(EZ OLFLSS$) (ST'LSSESTS) (9'89¢'€$) (6'PE106$) 8S'€69°076' I$ ONI CUVOLXAN
(LO LSZ GPE TS) (ZO O8EZLE$) (LV6Z£°€$) (61 ES L8IZ$) 1Z'9P9'8h9'P$ SNOILLVOINNWANOO THAT LXAN
(ZS 0S €6£$) (L5°S19°801$) (00°07 1°7$) (6L'0£9°€9$) TZ PIGSSE TS ONI SNDO3 MAN
(PL LLO'S78$) (88°LL8°L77Z$) (00°000°0T$) (13°86r'CETS) 61 BEL PPS 7S ONI OWSZLAN
(9€°006°60£$) (90°6Z¢‘¢8$) (00°00S$) (06501 ‘0S$) 77 TILL90T$ ddOO SN'1d YAOMLAN
(12587 ‘0SZ$) (p6'S40°69$) 00°0$ (60° L9t'0FS) 691 ETI8S ONI SANIONA NYOMLAN
(£9 IPS TIS) (pZ'090'1€$) (SLLTY9$) (LV'961'81$) 98° EPL L8ES ONI JA TOSLIN
(17 PLO'L8S) (1s 1€0'r7$) {0$°600°9$) (OS 8L0°FT$) 00°000‘00€$ (HOAL WOOISO) ONI NOOITISLAN
CLE TEN LEPS) (0118S FETS) 00°0$ (Of TF8°8L$) ZL'LSO‘O89'T$ duOO OWLAN
(12 PL0'L8$) (Is 1€0°#Z$) 00°0$ (OS 8L0°FT$) 00'000‘00€$ ONI SONILVULAN
(1Z'PLO'L8$) Cs 1€0rZ$) 00°0$ (OS 8L0°F1$) 00°000‘00€$ ONI SHAILNAOLAN
(39° Ctr Pres) (TVLS0°S6$) (LUSEEES) (LL'L89°SS$) OL'SS9OBTTS ONI ANOHdZLAN
(19° €0L‘ZEP$) (6€ 1ZF'611$) (00°S66'T$) (17 196°69$) 78°608'06b'I$ ONI SNOLLVOINNNWOD 0007LEN
(ST'LP6 07S) (9L9L1911$) 00°0$ (0v'090'89$) 07 SOEOSHIS ONI SNOLLdIOUdd LAN
(PL61S5‘°819$) (Tr'POL‘0LT$) CEO91S ZI$) (6¢'P00'00T$) 66900 TEI ‘ZS ONI WOO VAROJOAN
(COE SIP SEES) (06°0L$‘26$) (00°0S9°T$) (97 1€2'rS$) OS'SI9SSI‘IS ONI ZLISIAVN
(00°608°ZEE$) (65° T$8°16$) (00 €8E7$) (98'608°€S$) 776EN OPIS ONI WOO XSELINN
(ZS'LLO PPP TS) (61 I8L‘°86£$) CVT T1$) (26°619°EE7$) SO'8Z7'8L6'F$ ONI WOO’ ed
(08°866°987$) (8P'807'6L$) (00's EES) (60 €0r9¢$) ¥9'LO8‘886$ ONI NOSAL dddOd ‘VIGAW WACOM
(8B°LE8'S8ES) (L698F°90T$) (6L°S1€$) (82° €8£°79$) 6S IPE6ZE TS ONI ANN.LOUDIN
(1Z'PLO'L8$) (1S te0'rZ$) (00° rP9°7$) (0$'8L0'F1$) 00'000‘00€$ dO SNOLLVOINNWWOD JAVMV.LIN
CLL TE8'6ES$) (99°L86'°8FI$) (00°szr' L$) (OV Z87'L8$) $7706 6S8'T$ ONT ATOSV.LAW
(6° ELI ‘797$) (OO'LSECL$) (06°L66 I$) (S768E CHS) €r 9L7°E06$ SUCIOH LANYALNI AZd@ HONAT TINAN
(LO'OLS‘IVT$) (Zr EL0°6E$) (88°€09$) (LE°068°CZ$) OS LLL‘LEF$ ONI AdVOSACSAW/ONI DIDO TVOIGAN
(£2109 PLES) (SL'S8E°COT$) (6L'8t0'1$) (66°995°09$) 9$°L79'067 I$ ONI XA TA VIGAW
(OVLST‘ZITS) (€1'PS60E$) (00°0SZ°8$) (10'PEL‘S 1S) Z7'61P OBES ONI SNOLLVOINNWWOO SOW
C1O'L¥6'EZTS$) (00807 FES) 00°0$ (e7'0F0'07$) EZ 6E0'LZHS (duOO DWA)TUOO VLVGOW

(0S6‘P80'0L 1S (96°9SS‘1H6°9FS 18IOL) | (SO'EGS‘EOE TS 17I0L) | (O00'OOS‘LZ$ 1BI0L) | UOLBUSISag jZI0 1, Jonss]
[¥}0,,) $29.7 JO UOHBIOT[Y | sasuadxy Jo uONBIOTLY SpluMY VUISd sasuedxy

NOD jo uonvsoiry

 

 

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DID JO UOHBIOILV

 

 

 

(06'816°LFT$) (26°€78 OFS) 00°0$ (1U'916°E7$) 0S 0£9‘60S$ ONI FUVALAOS LSANO
(¥Z' 69°91 €$) (66° 1PEL8$) (49°990°7$) (86°L9T‘IS$) €Z EPE060'TS ONI WOOD OUdaSVHOUNd
(1Z'PZ0°28$) (1S 1£0"FZ$) (00°6£2°6$) (0S 8L0'F1$) 00°000°00E$ ONI SAIDOTONHOSL ISd
(96°S86°L9T$) (€£°90L b¢3) (00'PSE$) (Z5'06197$) 97'960°8SS$ ONI SWALSAS ADYANA NOLOUd
(Z1°7S9'060'TS) (3°L00‘10¢$) 00°0$ (06 OFE9LTS) BT POOLSLES duOD SNOILVOINNWWOO ADIGOUd
(COZ OF F6$) (69°190°97$) 00°0$ (8°L97ST$) BB EVE STES ONI SNOILN'IOS JOCATIMONY SNWIed
(OS SPE T10°9$) (6S 0rE'6S9°TS) (LI'8L6'1$) ($6°660°7L6$) TILSS PIL O7$ ONI WOO'ANITSON d
(88° 90¢ 0£9$) (O€'S86'°ELTS) CIUTITI$) ($9°9Z6°10T$) ST PIG ILI ZS ONI SWALSAS MAIARad
(EL 108°9r7$) (Lev 1‘89$) (00°000°01$) (LL'€06°6£$) IVELEOS8$ ONI SWELLSAS AALLOICId
(81661 'SrS'T$) (13'LSP'97PS) (OS 78E"r$) (S8'€€8°6r7$) OTZELEZE'SS ONI FUVMLIOS TVLYOd
(66°850°€17$) (Z6'108°8S$) (0S°608"F$) (it SPF PES) 90°090‘PEL$ ONI WOO XYLANV Td
(L0°901'7S9$) (€0'PL6'6L1$) (09°269°9$) (90's €¥‘S01$) OF STL‘OPT S$ duOO SWALSAS LOWAd
(SLILE681$) (OS 9T‘ZS$) (00°0S7'1$) (9€'819°0€$) IS 6rr'7S9$ WOO YAACIONd
(LE1T9 GOUT) (LU Ere‘90€$) 00°0$ (26 LOF6L1$) EL'61O'ETS ES ONI SYMOMLIN ANACVUVd
(€L17S°686'1$) (6L'S80'6FS$) (eeee6'€$) (65° €L9°17€$) BL ILS ‘PS8°9$ (dUOD WOOX)ONI WT¥d
(OL'€8S6L7$) (66° 191‘LL$) 00°0$ (61 P07 SP$) O1'097°€96$ ONI WNOODFTEL LSAM-OVd
(89° PTS E0ES) (pPr'69L‘E8$) (OF 1IL°S$) (90'SL0‘°60$) LEVEL SPOTS ONI UAALAIOVd
($2°790'9EP$) (8t'8re‘07TS) (08°Z¥8°9$) (eras ‘0Ls) OT E8E COSTS LAINYALNI O1dIOVd
(6¢'029'SZE$) (99°98 °68$) 00'0$ (19° L¥9'7S$) IL TLS IZETS$ ONI FUVMLAOS DLO
($0'098'F87$) (17819823) (os $19°6$) (62'L50°9r$) £6 SEP 186$ ONI OINVDUO
(1Z'PL0°L8$) (TS TEOFS) (00°0L8"€$) (0$'8L0'F1$) 00°000°00€$ ONI SSONAIOSOIA GIHOYO
(re cr0'E 17S) (S9°L6L'8S$) (00'0S7'9$) CL srr'ves) 18°900°PEL$ ONI SNOLLNAAYSALNI OALVUO
(OL'SPE COTS) (87 9P7'87$) (00°S29$) (S9'LPS‘91$) pPrsSl9ZSEs ONI VARTWHdVueO
(SL°LL6‘S6$) (6L°88¢'97$) (L9°0L0°6$) (90°81S‘ST$) ZL'SLO‘OEES ONI FUVM.LIOS OLLdO
CLUT8ZE1€$) (€1'016'S8$) (00'0SL$) (S1'6z£‘0S$) SE 89P'7LO TIS ONI SNOLLVOINNWWOD SINITAO
(COOL 8F7S$) (6€ EF8'FFIS) (L1°628'S$) (Ie'rs8'rss) 9T891'808'1$ SWALSAS TAVMANAdO
CT e9s‘Ord$) (61 L8EP07$) (Z£9%S$) (PULEL6II$) 65 68h ISS‘7$ (GQL1 HIWDdadOO ALNAdO
(12° PLO'L8$) (1s Te0'rz$) {00°SL8°S$) (0$°8L0'°F1$) 00°000‘00E$ duOd TAVMLAOS XANO
(LY'9F6'98L$) (8P'881°L12$) (ce €£$) (86°9€7'L71$) 76'S67 TIL'Z$ ONI WOO'VIANO
(1SSOLTS$) (p9'SPO'LPT$) (0S S60°LT$) (SP'679‘°78$) SS'SSLO9L TS duOO SWALSAS INO
(97 €£9°CZP$) (80° 7~9°91 1$) (OS ZZ8'9$) (00 €€€'89$) 80° PIL9SP IS duOd YOLONGNOOIWAS NO
(69°S€1‘00Z$) (€Z°SEz‘SS$) (0S 9%0°7$) (ZL'8S€TE$) £6 PES‘689$ ONI SAIDO'IONHOAL NOISIAINNO

(OS6'F80°0LTS (96'9SS‘*Th6'OPS 1839.L) | (SO'EES‘COE'TS 16301) | (O00O0S'LZE [8}0L) | UONBUsISEg [yO] Jonss]
[¥j0,1) S994 Jo UONVIOT[ VW | sesuddxy Jo UONVI0T/V SpABAMAY VUI1Sd sasuodxy

 

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(p0'S8Z'9S9$) (SELZUISI$) (o0'0ss‘01$) (ELOLT90T$) ve ETL 19TCS$ ONI SRIOMLIN VIGANRIV.LS
(el P78" 007$) (EZ STFSSH) (pr SLI *F$) (co'OLFZES) $8°906‘169$ ONI WOO'SdINVLS
(87'996'°T1S$) (QO ELS‘1F1$) (00'P0r'7$) (Op'8£6‘78$) OS TPELOL'IS WaLSAS ONILSVOdVOUE HSINVdS
(OZ OLE ETS) (69°LP9‘19$) (8ETOS‘OT$) (LE°S11°9€$) $9°S8S‘69L$ ONI SYYOMLAN SANOS
CZ PL0°L8$) CES TEOPZS) (L648) (OS 8L0°F 19) 00°000°00E$ ONI TIVMOINOS
(17 PL0°L8$) (1S 1€0'rZ$) (00'000°€$) {0S 8L0°F1$) 00°000°00€$ daOO OLWS
(Or 087° 9LT$) (88° 119°LE$) (00°000°T$) (S¢'reo'tz$) 76'TES‘69$ dad ASIGLUVWS
(17 PLO'L8$) (TS 1€0'r7$) 00°0$ (0S '8L0°F18) 00°000‘00€$ SAOIATCOUDIN VWZNAMIS
(LU'P66'817$) (96°6C¥'09$) (84 F061 $) (£3 LOPS ES) pL 80S'PSLS$ ONI SUVM.LAOS WVEALSUAA TIS
(£6°L8L°€67$) (17'780'18$) 00°0$ (82'00S‘LP$) BP'86I'TIOT$ ONI SATHOLVUOUVT NOOITS
(48 '9€F £07$) (ZE9rE9S$) 00°0$ (L'%68'CES) 79°806'00L$ ONI JOVAT NOOTTIS
(65 OF8 BFE TS) (Z0'S97'TLE$) (88°€09$) (Z83°S80'812$) £9 OIT LEO PS ONI WONSNOAS
($1°Z£0°806$) (64°909'0$2$) (00'002'L$) (6T'PI89FT$) Z6OLP'BZL‘ES ONI VOLLOA TES
($9 190°L6€$) (09° b8S*60T$) (00'0SZ'1$) (8861 'F9$) ST LLOS9ET$ ONI NOD LSANOIOS
(6L'€06°L71$) (€0'O0ESE$) (00'SLP I$) (86°6L9'07$) 89 1L9‘OPPS CLT AVMOANI WVALVS
(gr SOT E69) (80°969°¢7$) (00'000°01$) (99'€S0'ST$) OL6LL OZE$ ONI FUVM LAOS VAVS
(9L'716'8S1$) (97 '8S8°Cb$) (LOE TS) (¥9'€69'S7$) €0°805‘LPS$ INI WOSAMOU
(Z0'9SL'S6S'°7$) (€8°66E 9ILS) (00°000°S$) (66° 169°61¥$) LL'pSZ'Er6 8S SNOLLOANNOOLIN SWH.LAHY
(Z£°66S 8Z1$) (86 16r‘SES) (08°¢F8°7$) (pr Z6L07$) 10°890‘Err$ (ONI FUVM.LAOS ONH)ONI MALAY
(6€ 0S7 ZOTS) (L6°617 87$) 00°0$ (pe ZES 91S) 90° L87‘7SE$ ONI ALVNOSAY
(1'690°€6$) (Z1°989°S7$) (00'0SL°1$) (€8°LP0'S 1$) 1g'ss9O7Es$ ONI SHIDO IONHOSL WALVadTa
(60°6LE'S9PG) (90°L9¢‘871$) (ZE9P8"€$) ($h'097'SL$) Iv'ZEL‘E09'TS ONI NOD UALSIOTY
(1061 EIS) (CP 86L‘0€$) (0000679) (6L°7F0'81$) ES'SLPPSES ONI SNOLLVOINNNWOO LNASaa
(09°£10°66$) (99°9CELZ$) (00'000°ET$) (16°800°91$) ST SET PES AdIGga
CIS LIF LEU Z$) (98'LTL‘T8S$) (840F0°2$) (67 78ET PES) LTOPS' DLT LG ONI SYYOMLAN WOVAGAA
(S8°Z19°87P'7$) (LU'0L7'0L9$) (87061 I$) (29° L99°76E$) TL06€°L9€'8$ ONI LVH Gay
(Ly Lrr'£9sg) (pz'SOs‘ss1$) (OC OLL‘Z$) (6€ 001'16$) 1S'997'1P6'I$ ONI HSISUOZVU
(07 8ZS°SE1$) (8Z'POr'LES) 00°0$ (€L°Z16° 17S) EL 0b6'99b$ ONI SAIDOTONHOAL LNESIAVU
(08°987'16$) (PT P61'S7$) {LS°870°1$) (19°6SL'F1$) ISIS PLES GL aUVMava
(eS 7Z6‘LIZ$) (07 Pr 1 09$) (6L'¢90°7$) (LS PET SES) 79918 OSL$ YOO SNOILVOINAWWOD VOINN O1dVa
(€3°367' C0T$) (€£'60$'87$) 00'0$ (9L'10L°9T$) O£'668'SSES ONI ANO OIGVU
(Z8°S76°611$) (61 860°EE$) (S707 19) (80°06E°6T$) 68 PSI ‘ELS duiOO DIDOTAOINO

(0S6‘P80°0L1S (96°9SS‘TP6‘9rS [F10L) | (SoeEs‘EOETS 18391) | (000‘00S‘LZS [HIOL) | VONBUTISEG [B07 dJanss]
[#30,L) $39.7 JO UOIBIOIV sosuedxy Jo uoBo0], SPAvAY VUISd sosuedxy

NOD Jo uowa0lTy

 

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(r8°718'69S$) (Z0'79T‘LST$) (9'6S8°ES) (LS6C1 26$) JE LOL E96 TS duO9 OWLNAA
(ZO'PLE ST Z$) (pr 89b6S$) (00°000°7$) (89°8E8'FE$) $9 O8ETHL$ ONI SOINSOVRIVA
(L7°Z09°96S$) (09°SS9F9T$) (ZE9ZS$) (66°09%°96$) 66 S60'SS0'7$ ONI VORIENV FATWA
(1Z'PL0°L8$) (1S T£0'r7$) (00°000°F$) (0S°8L0°F I$) 00°000'00€$ ONI VIGAW AXTIVA
(17 PL0°L89) (1S 1£0'rZ$) 00°0$ (OS 8L0°F I$) 00°000°00€$ ONI LYAOITIVA
(Ze ss0'F69'7$) (LE6ZSEFLS) (00ST S7$) (Zr's8s‘Ser$) 87 676 187'6$ ONI SWELLSAS XNNIT VA
(97967 01 8$) (LLU TE9 ECS) (00'OSL1$) (LB TIOLETS) IS EPL T6L‘T$ ONT WOOUVLSLN
(1L°68S 8F0'7$) (TO'88E'S9S$) (38°€09$) (00° P27 1 €€$) 8Z'Z80'°8S0°L$ ONI ONIIYOMLANYALNISN
(ZZ'886°L8E$) (br'080°L0T$) (OS 0€S°L$) (Sr TEL‘79$) v7 OSL9EETS AN WWOD ddOUNa-NVd GaLINA
(18° ELE OES$) (8T7LLEOFTS) (00°008"6$) (16°ZSL‘S8$) ID OTELZSIS TVAOTS SxvN
(9S LSTIL8$) (18'67r' 07S) (62 8SL°19) (OL'ZS8OFTS) TS TEP TOES ONI SNALSAS LAL
(86°€L5°666$) (ie 1L8°S27$) (00°66r'L$) (0's 19 19T$) SE 698 Err Es ONI SWALSAS ANOLSNUNL
(L8°8SS"187$) (ZVL0L‘LL$) 00°0$ (pS €ZS°Sb$) ¥7'S90°0L6$ ONI SWELSAS SNOMLAN NOLILL
(8r'90F'07Z$) (PL°62809$) (8¢°Z0S$) (81'9€9°SES) ZI PLE‘6SLS duod VLENSNVUL
(SL°79S€6€S) ($6'819°80TS) {00°009°9$) (LLTE9E9$) REISESSETS ONI OALL
(Tr ers ‘Z8T$) (06°6SL°1S$) (00°000°1$) ($i 2Z€0€$) LTOST9P9S SHIDO'IONHOAL LNIOdDNIdd LL
(CL°7T1'981$) C1B'LOE ISS) 00°0$ (s0'€60‘0€$) SoSST IPOS WOO 'SLYAOLL
(SUTLES Z82$) (16°696'S 1Z$) CU T12'2$) (OL 27S ‘9Z1$) L9°€80°969‘7$ HOUVASALIO“ANIINO UALSVALAMOLL
(EO SETOLTS) (PU ZI9‘SrS) (ST ILZ9$) (69°8LP'87$) 16'bS8°909$ ONI FUVMLAOS OOPIL
(98'P08°C19$) (peLZT69T$) 00°0$ (69°080°66$) LEGIE TIL Z$ WOO LOduLSaHL
(85°8ES 16S) (61'#S$8°6S7$) (L16ZL°S$) (rO' TEZeS1$) LE'LIG'EPT ES ONI WNOO'AHO TOFHL
(6S PSP EzS$) (SO LOP'be L$) (00°00€°8$) (6T¥E9P8$) 96° LLb'EO8' IS SYYOMLAN VUUAL
(SO'9€1'861$) (S€°E89°PS$) (OS LZ9$) (Ir'sea'ZE$) SP'SP9‘7R9$ ddOO CIOANAL
(v0°619°681$) (SLEE TSS) (00'0S2"€$) (cess9'0E$) PS LOL ES9$ ONI SOd duOOa TAL
(69° 98E‘L8$) (9L'LIL¥Z$) (00'r+9°7$) (Z0°6Z1 ‘FT$) 19°9L0'10E$ ONI SWALSAS NOILVOINNWINOOS TAL
(OC P7ZS‘E9C$) (L9'°87¢'001$) (6L'S1€$) (£0 9LL'8S$) 6L E9V'TST IS ddd SNOLLVOINNWWOD SIXV TAL
(12'P20°L8$) (1s 1€0'rZ$) (€EL8F'°9$) (0$'8L0°F1$) 00°000°00€$ di09 NVRIVTVL
(€0°685 007 b$) (16'S1LE6ST TS) (00°€F6°0Z$) (99°L916L9$) OS SprZLrPI$ ONI SHUOMLAN AWOWVOAS
(€8°Z1S‘8ST$) (SL°LPL EPS) 00°0$ (L6°879'SZ$) pl O€l Ors$ ONI CUaVOGHOLIMS
(SO €8r'r6$) (br9L0°97$) (00'SZT1$) (6F 9LZ'ST$) SO'8ZS'SzE$ ONI WOO’ LYOddNs
(ee OL 112$) (97 9b'8S$) (00°008'F$) (98 '6£7'rE$) 07'0Z9‘6ZL$ ONI TAVMLHDIT SOLVULS
(8€°9L6°6LL$) (73 P9C'S 17S) (6L'S1€$) {€9°601 9Z1$) 09 187°L89°7$ ONI STYOMLANADVUOLS

(0S6‘F800LIS (96°9SS‘Th6 OPS 1830.1) | (SO’cES‘COS TS 14I0L) | (CO00‘O0S‘ZZ7S$ 1830.1) | UoNEUsiseg [BIOL Janss]
]¥}0],) S399q Jo uoWLI0OT]y | sasuedxg Jo uOTZEOITV SplBMY VUTSd sosuodx'y

 

 

 

 

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(00°0S6‘F80°0L1S) (96°9SS'LF6'9FS) (so’e6s'c0¢'T$) (00°000'00S‘27S) 00°000‘000°98S$ TVLOL|
(07'666'8£€$) (10°096€6$) (SL'L96'T$) (ZL 018°FS$) $5996‘ LOTIS ONI SHIDO TONHOAL TAL-Z
(or'z0€'79Z$) (SS 76€'CL$) 00°0$ (80° 0L@r$) 61 O7L‘E06$ ONI YOIdadX
(c0'S8ZL9rI$) (93° 11S‘0F$) (00°000°0I$) (97 EELEZ$) be VEL‘SOSS ONI LAN TUVOX
(60° S0F‘881$) (1L°L66'1¢$) (00°006$) (LO'Z9¥'0E$) 90°61 1 669$ NOLLVuddsd ONITLSAUM GTYOM
(Z6°7ST7 L6PS) (se-ogs‘sets) (Z£97S$) (69° L769) S61ES‘69'1$ SYYOMLAN WOO'NANOM
(67° £96 br 'TS) (SL°988°S TES) (00°0S2"€$) (Lp'LS0'S81$) br 90P £r6'ES ONI SALLITIOVA SSA TIMI
(Z3'9rP P8ES) (S0'€01901$) (ZEOLT'ES) (L8°8S1°79$) €6°8rS PEI ONI SNOLLVOINNWWOO SNIM
{€1°S96°C0T 1S) (10's00'ZEES) (00°06r'8$) (TV00S‘r61$) SP 079 pr PS ONI dnNOUD NVATAM
(68 °Z16°260'T$) (EL TE9‘LOES) ($9°658'8$) (8E90L9LI$) SETS SOLES ONI SCOHLAWAIA
($8°919°C68'T$) (EZ 1 hE CZS$) (oo 00r'S$) (0z'S00°90£$) LI€0L‘07S°9$ CWdgM
(79°969°80r$) (9P'S6L°TEI$) (00°S08°€$) (1$°6L0'99$) 0€ P60'80F'TS$ dudOO TAXIA
($9°788°797$) (69°25 6°TL$) (00'0S6'1$) (68°€0S‘ZPS) SE 61L'S06$ ONI ADO'IONHOEL VRLLIA
(LL'7Z0°60T$) (L0°680'0£$) (00°000°01$) (€CLZ9LIS) 1Z:079'SLES ddOO VLIVUIA
(1Z'PL0'L8$) (1S TE0Z$) (00°0SL°L$) {OS 8L0'F I$) 00°000‘00€$ ON] AOVUIA
(1S°700°LLZ$) (79 6PF9L$) {L870 1$) ($3 98L'pb$) 90° L9EbS6$ duOO ALLANDIA
(86° €Z1°LZ0°1$) (18 ply‘ €87$) (00'rr9'LS) (Zr'690°991$) EP SBLBES ‘ES ddOO ALINIOIA
(26 9LSFI1Z$) ($8°077'6S$) (6£°590°01$) (¥9°€69"rE$) €8°687 6EL$ duOO LNVIA
(17 PL0°L8$) (1S°1£0°r7$) (S6'r69°E$) (O$'8L0'F1$) 00°000‘00€$ ONI YOCVIA
(Z6'PEO'SLES) (83° L7¢‘TH7$) (00'00S"E$) (21796 1FT$) €E9T‘SZO'ES ONI SHYOM' LAN VIA
(Zr ssr'si Ps) (9€°699'FT I$) (00'0Ss"€7$) (TE LLVL9$) SE LEP‘TEr I$ ONI LAN TVOLLUGA
(67 LEP EFES) (89°86L‘F6$) (OS '782'8$) (LE‘9ES*SC$) ES 6ZPEST IS SONIMIOH OCVUGA

(0S6'F80°0L1$ (96°9SS‘Tr6'OFS 18301) | (SO-eES‘COE'TS 1439.1) | (000‘00S‘L7$ 18I0L) | UORBUBISEg [B01 danss]
1830,,) sae Jo uoIZEd0][Y | sasuedxy Jo uOHLIO]|TV SpAeMYV VUITSd sosuadxy

 

(SVS) 76 OW IZ ‘ON NOLLOV TIAIO

NOLLVOLLIT SHILIMN DAS ONTATAAO OITEN d TVLLINI Tk NI

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CERTIFICATE OF SERVICE
I hereby certify that on the 20% day of November, 2009, I caused true and accurate copies

of the foregoing to be served by hand upon the following:

Gandolfo V. DiBlasi, Esq. Jack C. Auspitz, Esq.
Sullivan & Cromwell LLP Morrison & Foerster LLP

125 Broad Street 1290 Avenue of the Americas
New York, NY 10004 New York, NY 10104-0050

All other counsel of record to be served by LexisNexis File & Serve or First-Class mail.

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Matthew Bucher
